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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 HOSEA LATRON SWOPES,                             )
                                                  )
                  Movant,                         )
                                                  )
         V.                                       )           No. 4:20-cv-01126-RL W
                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                  Respondent.                     )

                                  MEMORANDUM AND ORDER

         This matter comes before the Court on the motion of movant Hosea Latron Swopes for an

 extension oftime to file a response to the Court's November 17, 2020 show cause order. (Docket

. No. 5). In the motion, movant states that he has not been able to file a proper response due to his

 institution's lockdown status, which has been necessitated by COVID-19. Good cause being

 shown, the motion will be granted. Movant shall be given an additional forty-five (45) days from

 the date of this order in which to submit a response.

         Accordingly,

         IT IS HEREBY ORDERED that movant's motion for an extension of time to file his

 show cause response (Docket No. 5) is GRANTED.

         IT IS FURTHER ORDERED that movant shall have forty-five (45) days from the date

 of this order in_ which to file a response to the Court's November 17, 2020 order to show cause.




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       IT IS FURTHER ORDERED that failure to comply with this order will result in the

denial and dismissal of this motion without further proceedings and without further notice.

       Dated tm#aay o f ~                               , 2021. •         M.
                                             RO~O
                                             UNITED STATES DISTRICT JUDGE




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